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                   Exhibit A
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From: Enlow, Courtney D. (CIV) <Courtney.D.Enlow@usdoj.gov>
Sent: Wednesday, August 12, 2020 10:04 AM
To: Matt Topic <matt@loevy.com>
Cc: FOIA Team <foia@loevy.com>; Tobin, Charles D. (DC) <TobinC@ballardspahr.com>
Subject: RE: Mueller 302s 19 CH 1278

⚠ EXTERNAL
Good morning Matt,

I have received the following information from the FBI. Consultation/coordination requests for 49 FD-
302s have been pending more than 60 days, and consultation/coordination requests for an additional 12
FD-302s have been pending more than 30 days. As stated below and in the declaration of David Hardy,
the FBI’s practice has been to “follow[] up on outstanding consultation/coordination requests with
[other governmental agencies] on a regular basis,” Hardy Decl. ¶ 15, Dkt. 58-1, and it continues to do so
with respect to the outstanding consultation/coordination requests.

Thanks,
Courtney


From: Matt Topic <matt@loevy.com>
Sent: Friday, August 07, 2020 10:09 AM
To: Enlow, Courtney D. (CIV) <cenlow@CIV.USDOJ.GOV>
Cc: FOIA Team <foia@loevy.com>; Tobin, Charles D. <TobinC@ballardspahr.com>
Subject: Re: Mueller 302s 19 CH 1278

Thanks Courtney. Can you please let us know how many consults have been
pending for more than 30 and more than 60 days?

On Thu, Aug 6, 2020 at 2:55 PM Enlow, Courtney D. (CIV) <Courtney.D.Enlow@usdoj.gov>
wrote:

Hi Matt,

I have received the following information from the FBI. In the month of July, the FBI processed
800 pages of the typewritten narratives of the FD-302 forms related to the Special Counsel’s
investigation. Pursuant to the procedures outlined in the declaration of David Hardy, Dkt. 58-1,
the FBI withheld from the August 3 production 49 FD-302s because the FBI sent
consultation/coordination requests to 15 other governmental agencies so that they can review the
records for their equities and advise the FBI on how to handle (i.e., disclose or redact) their
information. As explained in Mr. Hardy’s declaration, the FBI “do[es] not identify the agency or
agencies to which [it is] sending records as part of [its] processing of a FOIA request . . . to avoid
potential inadvertent disclosure of classified and/or law enforcement sensitive information that
would otherwise be exempt under the FOIA.” Hardy Decl. ¶ 11, Dkt. 58-1.
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So far, consultation/coordination requests have been sent to 23 agencies and concern a total of
129 FD-302s. Out of the total number of consultation/coordination requests, the FBI has
received responses from other governmental agencies and produced to Plaintiffs 6 FD-302s in
prior productions. The FBI did not include in the August 3 production any FD-302s that were
previously withheld from prior productions on the basis of consultation/coordination
requests. The FBI’s practice has been to “follow[] up on outstanding consultation/coordination
requests with [other governmental agencies] on a regular basis,” id. ¶ 15, and it continues to do
so with respect to the outstanding consultation/coordination requests.



Thanks,

Courtney




From: Matt Topic <matt@loevy.com>
Sent: Tuesday, August 04, 2020 9:14 PM
To: Enlow, Courtney D. (CIV) <cenlow@CIV.USDOJ.GOV>
Cc: FOIA Team <foia@loevy.com>; Tobin, Charles D. <TobinC@ballardspahr.com>
Subject: Re: Mueller 302s 19 CH 1278




Thank you.



On Tue, Aug 4, 2020, 7:43 PM Enlow, Courtney D. (CIV) <Courtney.D.Enlow@usdoj.gov>
wrote:

Hi Matt,



I should be able to give you an update this week.



Best regards,

Courtney




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Courtney Enlow

U.S. Department of Justice

(202) 616-8467



On Aug 4, 2020, at 11:45 AM, Matt Topic <matt@loevy.com> wrote:



Hi Courtney. Can you please update us on the status of all the referrals and
consults? Who has them, which records, and for how long have they had
them? I thought Judge Walton had ordered that each monthly release
include an update on that but I could be mistaken and haven't double
checked the orders.




Matt



--




Matthew Topic

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matt@loevy.com




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www.loevy.com/attorneys/matthew-v-topic


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